                        MEMORANDUM CASES.
This petition for a writ of habeas corpus is a companion proceeding with that of In re Sears, (Crim. No. 1340) ante,
p. 308 [30 P.2d 571], in which an opinion was this day filed in this court.
[1] Both petitioners were charged in the same complaint which was filed in the Justice's Court of Angels Township, Calaveras County, and convicted of wilfully and fraudulently discharging an employee without paying his wages, contrary to the provisions of Statutes of 1919, page 294, and amendments thereto. (2 Deering's Gen. Laws of 1931, p. 2241, Act 4743.)
Upon the authority of In re Sears, supra, the writ of habeascorpus is denied and the prisoner is remanded.
Pullen, P.J., and Plummer, J., concurred. *Page 769 